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                        GOVERNMENT’S TRIAL EXHIBITS


  Ex. No.                   Exhibit                Offered      Admitted


                             PHOTOS AND ISIS MEDIA


1-1         Photograph of Osama Bin Laden


1-2         Photograph of Abdullah Azzam

            Two photographs of 1993 World Trade
1-3
            Center Bombing

1-4         Photograph of Omar Abdel Rahman

            Two photographs of 1998 African
1-5
            Embassy Bombings.

1-6         Photograph of 2000 USS Cole Bombing


1-7         Photograph of 9/11 Attacks


1-8         Photograph of Daniel Pearl


1-9         Photograph of Khalid Sheikh Mohammed



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  Ex. No.                    Exhibit                     Offered   Admitted


1-10        Photograph of Nicholas Berg


1-11        Photograph of Ken Bigley


1-12        Two photographs of Aafia Siddiqui


1-13        Photograph of Sajida al-Rishawi


1-14        Photograph of Abu Musab al-Zarqawi

            Hijrah to the Islamic State Prequel EBook:
1-15
            The Islamic State (2015)

1-16        Photograph of Abu Bakr al-Baghdadi

            Photograph of Abu Muhammad Al-
1-17
            Adnani
            Video of al-Baghdadi speech declaring the
1-22
            Caliphate in July 2014
            Screenshot of al-Baghdadi speech
1-23
            declaring the Caliphate in July 2014

1-24        Video Entitled “A Message to America.”

            Clip 1 from Video Entitled “A Message to
1-24a
            America”
            Still photo of Masked Man with knife at
1-24b       Foley’s neck from “A Message to
            America.”
            Still photo of Foley’s body at the end of
1-24c
            “A Message to America.”
            Clip 2 from Video Entitled “A Message to
1-24d
            America.”
            Still photo of James Foley and Masked
1-24e
            Man from “A Message to America.”



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  Ex. No.                    Exhibit                      Offered   Admitted

            Still photo of Sotloff and Masked Man
            from “A Message to America” with
1-24f
            Masked Man holding the back of Sotloff’s
            orange jumpsuit.
            Video Entitled “A Second Message to
1-25
            America.”
            Clip 1 from Video Entitled “A Second
1-25a
            Message to America.”
            Clip 2 from Video Entitled “A Second
1-25b
            Message to America.”
            Still photo of Steven Sotloff with Masked
1-25c       Man pointing a knife from “A Second
            Message to America”
            Still photo of Masked Man with knife at
1-25d       Steven Sotloff’s Neck from “A Second
            Message to America.”
            Still photo of Steven Sotloff’s body at the
1-25e
            end of “A Second Message to America.”
            Still photograph of Elsheikh and Kotey
1-26
            from CNN interview in 2018.
            Video Entitled “A Message to the Allies
1-27
            of America.”
            Clip 1 from Video Entitled “A Message to
1-27a
            the Allies of America.”
            Still photo of Masked Man and Haines
1-27b       from “A Message to the Allies of
            America.”
            Still photo of Masked Man with knife at
1-27c       Haines’s neck from “A Message to the
            Allies of America.”
            Still photo of Haines’s body at the end of
1-27d
            “A Message to the Allies of America.”
            Video entitled “Another Message to
1-29
            America and its Allies.”
            Clip 1 from Video entitled “Another
1-29a
            Message to America and its Allies.”



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  Ex. No.                     Exhibit                  Offered   Admitted

            Still photo of Henning with knife at his
1-29b       neck from “Another Message to America
            and its Allies.”
            Still photo of Henning’s body at the end
1-29c       of “Another Message to American and its
            Allies.”
            Still photograph of Peter Kassig and
1-29d       Masked Man from “Another Message to
            America and its Allies.”
            Still photo of Allen Henning and Masked
1-29e       Man from “Another Message to American
            and its Allies.”
            September 19, 2014 Al-Hayat Video,
1-30
            “Flames of War.”

1-30a       Flames of War video clip


1-31        Flames of War 2


1-31a       Still Photo from Flames of War 2 (2:49)


1-31b       Still Photo from Flames of War 2 (2:59)


1-31c       Still Photo from Flames of War 2 (16:35)


1-31d       Still Photo from Flames of War 2

            Dabiq Issue 1:
1-32
            “The Return of Khilafah.”
            Dabiq Issue 2:
1-33
            “The Flood”
            Dabiq Issue 3:
1-34
            “A Call to Hijrah.”
            Dabiq Issue 4:
1-35
            “The Failed Crusade.”
            Dabiq Issue 5:
1-36
            “Remaining and Expanding.”

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  Ex. No.                    Exhibit                    Offered   Admitted

            Dabiq Issue 6:
1-37        “Al-Qaidah of Waziristan: A Testimony
            from Within.”
            Dabiq Issue 7:
1-38        “From Hypocrisy to Apostasy: The
            Extinction of the Grayzone.”
            Dabiq Issue 13:
1-39        “The Rafidah from Ibn Saba to the
            Dajjal.”
            Dabiq Issue 14:
1-40
            “The Murtadd Brotherhood.”
            ISIS Video “Although the Disbelievers
1-41
            Dislike It.”
            Clip 1 from ISIS Video “Although the
1-41a
            Disbelievers Dislike It.”
            Clip 2 from ISIS Video “Although the
1-41b
            Disbelievers Dislike It.”
            Clip 3 from ISIS Video “Although the
1-41c
            Disbelievers Dislike It.”
            Still photograph from “Although the
1-41d       Disbelievers Dislike It” related to Peter
            Kassig.
            ISIS Video “This Message was Received
1-42        by the Family of Kenji Goto Jogo and the
            Government of Japan” 01242015
            ISIS Video “The Second Public Message
1-43        of Kenji Goto Jogo to His Family and the
            Government of Japan” 01272015
            Voice Message “I’m Kenji Goto Jogo”
1-44
            01282015

1-44a       I'm Kenji Goto Jogo Arabic title

            Translation of I’m Kenji Goto Jogo
1-44b
            Arabic title
            ISIS Video “A Message to the
1-45
            Government of Japan.”



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  Ex. No.                    Exhibit                      Offered   Admitted

            Clip 1 of Masked Man speaking in “A
1-45a
            Message to the Government of Japan.”
            Still photo of Masked Man and Kenji
1-45b       Goto with knife to his throat in “A
            Message to the Government of Japan.”
            Still photo of Kenji Goto’s body at the end
1-45c       of “A Message to the Government of
            Japan.”

1-46        Kayla Mueller Death ISIS Media Post

            Translation of Kayla Mueller Death ISIS
1-46a
            Media Post
            Kayla Mueller Death ISIS Media
1-47
            Announcement with pictures
            Translation Kayla Mueller Death ISIS
1-47a
            Media Announcement pictures
            Kayla Mueller Death ISIS Media
1-48
            Announcement in Arabic
            Translation of Kayla Mueller Death ISIS
1-48a
            Media Announcement
            ISIS Video “Healing the Believers’
1-49
            Chests.”
            Screenshot from “Healing the Believers
1-49a
            Chests.”
            Still shot of Kasasibah from “Healing the
1-49b
            Believers Chests.”
            Still shot of Kasasibah from “Healing the
1-49c
            Believers Chests.”

1-50        Photograph of Elshafee Elsheikh

            English Translation of June 29, 2014, Abu
1-51        Muhammad al-Adnani, “This is the
            Promise of Allah”
            ISIS Video “A Message to the
1-52        Government and People of Japan.”
            January 20, 2015.

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  Ex. No.                     Exhibit                  Offered   Admitted


1-53        Photograph of Oussama Atar


1-54        Photograph of Andrew Poulin


                   CHARTS AND DEMONSTRATIVE EXHIBITS


2-1         Map of Syria, Turkey and Iraq


2-2         Hostages: Locations and Dates of Capture


2-3         Captivity Timeline

            Islamic State Hostage Execution Media
2-4
            Chart

2-5         American Hostage Photo-board


2-6         ISIS Media Infrastructure Chart

            Hostages: Prison Locations and Dates of
2-7
            Detention

                        JULY 2014 MILITARY OPERATION


3-1         Diagram from July 2014 Operation


3-2         Key for diagram


3-3         Photograph of “Kayla” writing

            Photograph of wall from prison with
3-4
            writing scratched into it

3-5         Handwritten script with Items 8-13




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  Ex. No.                      Exhibit                 Offered   Admitted


3-6         One-page handwritten tally sheet


3-7         Photo of hallway


3-8         Photo of room


3-8a        Photo of room


3-8b        Photo of room


3-9         Photo of club


3-10        Photo of shackles


3-11        Photo of hand-held radios


3-12        Photograph of rifle with a banana clip

            Photograph of a room containing padlocks
3-13
            and chains

3-14        ISIS flag


3-17        Photos of doorway to bathroom


3-18        Photo of sink


3-19        Photo of shower 1


3-20        Photo of shower 2


3-22        Aerial photo of Riverside Prison




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  Ex. No.                    Exhibit                    Offered   Admitted


3-23        Aerial photo of Desert Prison (zoomed in)

            Aerial photo of Desert Prison (zoomed
3-24
            out)

                                   PHOTOGRAPHS


4-1         Photo of Elsheikh


4-1a        Photo of Kotey

            Photograph of interview room in Kobani
4-2
            prison

4-3         Photographs of Oussama Atar


4-4         Photograph of Abu Omar al-Belgique


4-5         Photograph of Abu Idriss


                                JAMES WRIGHT FOLEY

            Photograph of James Foley standing in
5-1
            front of window

5-2         Photograph of James Foley with short hair


5-3         Photograph of James Foley with long hair

            Ransom emails to the family of James
5-4
            Foley

5-5         John and Diane Foley Statement




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  Ex. No.                   Exhibit                    Offered   Admitted


                              KAYLA JEAN MUELLER


 6-1        Speech by Kayla Mueller


 6-1a       Clip 1 from Exhibit 6-1

            Photograph of Kayla Mueller at Darfur
 6-2
            Rally
            Photograph of Kayla Mueller in front of
 6-3
            Kiwanis Club flag
            Photograph of Kayla Mueller smiling with
 6-4
            cat

 6-5        Photograph of Kayla Mueller (redacted)

            Ransom emails to the family of Kayla
 6-8
            Mueller

 6-9        Audio Message from Kayla Mueller


 6-10       Video Message from Kayla Mueller


 6-11       August 10, 2014 email attachment


 6-13       September 16, 2014 email attachment


 6-14       Letter from Kayla Mueller


 6-15       Second Letter from Kayla Mueller


 6-16       Photograph 1


 6-17       Photograph 2




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  Ex. No.                    Exhibit                    Offered   Admitted


 6-18       Photograph 3


 6-20       Third letter from Kayla Mueller


                               STEVEN JOEL SOTLOFF

            Photograph of Steven Sotloff wearing
 7-1
            baseball hat with glasses
            Photograph of Steven Sotloff with
 7-2
            sunglasses and shemagh
            Photograph of Steven Sotloff with
 7-3
            sunglasses on head
            Photograph of Steven Sotloff wearing
 7-4
            glasses
            Ransom emails to the family of Steven
 7-5
            Sotloff
            Audio recording of Steven Sotloff
 7-6
            attached to August 30, 2014 email
            Handwritten letter from Steven Sotloff to
 7-7
            his family dated April 18, 2014
            Handwritten Letter from Steven Sotloff to
 7-8
            his family dated May 18, 2014
            Online Video Appeal from the mother of
 7-9
            Steven Sotloff

                              PETER EDWARD KASSIG


 8-1        Ed and Peter Kassig (fishing photo)


 8-2        Paula and Peter Kassig (waterfall photo)

            First ransom email to the family of Peter
 8-3
            Kassig



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  Ex. No.                     Exhibit                  Offered   Admitted

            Ransom emails (continued) to the family
 8-5
            of Peter Kassig

 8-6        Audio Recording of Peter Kassig


 8-7        Letter to Kassig Family 1

            Photo of Peter Kassig wearing a dark
 8-8a
            jacket

 8-8b       Photo of Peter Kassig as a medic


 8-9        Letter to Kassig Family 2

            Online Video, “Kassig family pleads to
 8-10
            Islamic State for son’s release”

                                        WITNESS R.S.


 9-1        Photos of Dungeon Basement


 9-2        Notes in Arabic


 9-3        Translation of Notes in Arabic


 9-4        CV of P.F.


 9-5        CV of M.S.


                                        WITNESS F.M.


 10-1       Photograph of David Haines


 10-2       Photograph of Alan Henning




                                             12
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  Ex. No.                   Exhibit               Offered       Admitted


 10-3       Photograph of John Cantlie


 10-4       Photograph of Louisa Akavi


 10-5       Photograph of Marcos Marginedes


 10-6       Photograph of Toni Neukirch


 10-7       Photograph of Didier Francois


 10-8       Photograph of Edouard Elias


 10-9       Photograph of Pierre Torres


 10-10      Photograph of Nicolas Henin


 10-11      Photograph of Ricardo Vilanova


 10-12      Photograph of Javier Espinosa


 10-13      Photograph of Frida Saide


 10-14      Photograph of Patricia Chavez


 10-15      Photograph of Daniel Ottosen


 10-16      Photograph of Gert Verdonck


 10-17      Photograph of Dan Scholer


 10-18      April 18, 2013 email




                                             13
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  Ex. No.                     Exhibit                     Offered   Admitted

            Email attachment with a photograph of
 10-19
            Federico Motka

 10-20      Photograph of Sergey


 10-21      Video of execution


 10-22      Still photo of execution (faces redacted).


 10-22a     Still photo of execution (faces unredacted)


 10-22b     Still photo 1 of execution


 10-22c     Still photo 2 at execution


 10-22d     Still photo 3 at execution


 10-22e     Still photo 4 at execution


 10-22f     Still photo 5 at execution


 10-22g     Hostage negotiation email


                                         WITNESS D.O.


 11-1       Photograph of D.O.


 11-2       August 21, 2013 Proof of Life video


 11-2a      Transcript of Exhibit 11-2


 11-3       Photograph of D.O.




                                              14
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  Ex. No.                     Exhibit                   Offered   Admitted

            Handwritten message dated February 17,
 11-4
            2014 from Daniel Ottosen

 11-5       Handwritten diagram by Daniel Ottosen


 11-6       Photograph of D.O.

            One-page, hand-written letter from Daniel
 11-7
            Ottosen

 11-8       Audio Message from D.O.


 11-8a      Transcript of Exhibit 11-8


 11-9       Photograph of right side of torso

            Photograph of rear torso from the right-
 11-10
            hand side

 11-11      Photograph of back


 11-12      Prison Timeline


 11-13      Sketch of names and events from captivity

            Hand-drawn sketch of Syrian execution
 11-14
            scene

                                        WITNESS J.S.


 12-2       February 9, 2014 email

            Email thread with emails dated February
 12-3       13, 2014, February 14, 2014 and February
            16, 2014
            Email thread dated February 25, 2014
 12-4
            with a reply dated March 3, 2014



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  Ex. No.                    Exhibit                     Offered   Admitted


 12-5       March 4, 2014 email

            Emails dated March 8, 2014 and March
 12-6
            11, 2014

 12-7       April 7 and April 8, 2014 email thread


 12-8       April 19, 2014 email

            Email Thread from April 14, 2014
 12-9
            through April 25, 2014
            Email Thread from June 10, 2014 through
 12-10
            June 12, 2014

                                       WITNESS N.H.


 13-1       Photo of Najim Laachraoui


                                       WITNESS D.F.

            Cover Page for Letter to Family of John
 14-1
            Cantlie

 14-2       Handwritten letter from John Cantlie


 14-3       One-page typed document

            Cover page for letter to family of Kayla
 14-4
            Mueller
            Four-page handwritten letter to the family
 14-5
            of John Cantlie

                                     WITNESS M.M.


 15-1       Proof of Life video for M.M.




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  Ex. No.                     Exhibit                  Offered   Admitted


                                        WITNESS E.E.


 18-1       “Rambo mode” redacted photo


                     WITNESSES RE: KAYLA JEAN MUELLER


 19-1       Photo of red laptop


 19-2       Photo of A.S.


 19-3       Photo of U.S.


 19-4       Photo of Abu Bakr al-Baghdadi


 19-5       Photos of seized weapons


 19-6       Photo of window


 19-7       Photo of residence


 19-8       Raqqa prison photo


                         MAY 2015 MILITARY OPERATION


 20-1       Photo of Items Seized (1)


 20-2       Photo of Items Seized (2)


 20-3       Photo of Items Seized (3)


 20-4       Photo of Weapons Seized




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  Ex. No.                    Exhibit                    Offered   Admitted


 20-5       Photo of Stamps Seized (1)


 20-6       Photo of Stamps Seized (2)


 20-7       Photos of Stamped Documents


 20-8       Photo of documents with ISIS letterhead


 20-9       Photo of handcuffs


 20-10      Diagram of residence


 20-11      Slavery document 1 translation


 20-11a     Slavery document 1 original


 20-12      Slavery document 2 translation


 20-12a     Slavery document 2 original


 20-13      Slavery document 3 translation


 20-13a     Slavery document 3 original


 20-14      Slavery document 4 translation


 20-14a     Slavery document 4 original


                                   SEPTEMBER 11, 2011


 22-1       Still of Kotey and Elsheikh




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  Ex. No.                   Exhibit                    Offered   Admitted


 22-2       Photograph of Kotey and Elsheikh


 22-3       Photograph of Kotey and Elsheikh


 22-4       Video of Kotey and Elsheikh


 22-5       Photograph of 9/11 Memorial in London

            Photograph of plaque at 9/11 Memorial in
 22-6
            London

 22-7       Elsheikh statement


 22-8       Booking photo of Elsheikh


 22-9       Booking photo of Kotey


 22-10      Photo of B.G. and Kotey


 22-11      Photo of B.G. and Kotey


 22-12      Photo of D.G. and Elsheikh

            V.D.R. in-custody photos of Elshafee
 22-13
            Elsheikh

                                      K.E. PHONE

            Cellebrite Reader and phone data
 23-1
            extraction MJH_6

 23-1a      CV for M.H.


 23-1b      M.H. report




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  Ex. No.                    Exhibit                Offered     Admitted


 23-2       PowerPoint for MJH_6_MSH_13


 23-2a      Transcript for Audio file MJH_6_MSH_4

            Transcript for Audio file
 23-2b
            MJH_6_MSH_11
            Transcript for Audio file
 23-2c
            MJH_6_MSH_12

 23-2d      Transcript for Audio file MJH_6_MSH_2


 23-2e      Transcript for Audio file MJH_6_MSH_3

            Transcript for Audio file
 23-2f
            MJH_6_MSH_10

 23-3       PowerPoint for MJH_6_MSH_14


 23-4       iPhone photo 1


 23-5       iPhone photo 2


 23-6       Evidence bag


                             EXPERT WITNESS DR. R.R.


 24-1       20 October Report and Dr. R.R. CV


 24-2       5 November 2014 Report

            GW/5175/1 A Message to America for
 24-2a
            Audio Analysis
            AC/5228/1 A Second Message to America
 24-2b
            for Audio Analysis



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  Ex. No.                   Exhibit                   Offered   Admitted

            GW/8006/1 A Message to the Allies of
 24-2c
            America for Audio Analysis
            AC/5251/1 Another Message to America
 24-2d
            and its Allies for Audio Analysis
            RAJ/1002 full police interview with
 24-2e
            Mohammed Emwazi
            RAJ/1002 Police interview clip with
 24-2e.1
            Mohammed Emwazi

 24-3       4 December 2014 Report

            ABA/9 Although The Disbelievers Dislike
 24-3a
            It for Audio Analysis
            4 February 2015 Report Explaining New
 24-4
            Evaluation Process
            4 February 2015 Report Regarding
 24-5
            Goto/Yukawa Video
            AMB/5494 A Message to the Government
 24-5a      and People of Japan used for Audio
            Analysis
            25 March 2015 Report on Forensic
 24-6
            Speaker Comparisons
            MJF/12 Police Interview with Elshafee
 24-6a
            Elsheikh
            Three Photos Depicting MJF/12 Cassette
 24-6b
            and Packaging

 24-6c      MJH-6-MSH-2 Audio File


 24-6d      MJH-6-MSH-3 Audio File


 24-6e      MJH-6-MSH-4 Audio File

            20 May 2015 Report on Forensic
 24-7
            Comparisons



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  Ex. No.                     Exhibit                 Offered   Admitted

            HP/5533/1 A Message to the Government
 24-7a
            of Japan used for Audio Analysis

                                    CERTIFICATIONS


 25-1       Big Travel Records

            Big Travel Records Translation from
 25-1a
            Swedish to English

 25-2       National Westminster Bank records

            U.S. Customs and Border Protection
 25-3
            Records

 25-4       Emwazi Police National Computer record

            Certified copies of custody records for
 25-5
            Elshafee Elsheikh

 25-6       Certified Birth Certificate 1


 25-7       Certified Birth Certificate 2

            Certified copy of an application for
 25-8
            naturalization

 25-9       69 FR 61292


 25-10      69 FR 75587


 25-11      77 FR 4082


 25-12      79 FR 27972


 25-13      80 FR 58804




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  Ex. No.                    Exhibit              Offered       Admitted


            EL SHAFEE ELSHEIKH INTERVIEW WITH SEAN LANGAN

 26-1       Langan/Elsheikh video clip


 26-1a      Transcript of Exhibit 26-1


 26-2       Langan/Elsheikh video clip


 26-2a      Transcript of Exhibit 26-2


 26-3       Langan/Elsheikh video clip


 26-3a      Transcript of Exhibit 26-3


 26-4       Langan/Elsheikh video clip


 26-4a      Transcript of Exhibit 26-4


 26-5       Langan/Elsheikh video clip


 26-5a      Transcript of Exhibit 26-5


 26-6       Langan/Elsheikh video clip


 26-6a      Transcript of Exhibit 26-6


 26-7       Langan/Elsheikh video clip


 26-7a      Transcript of Exhibit 26-7


 26-8       Langan/Elsheikh video clip




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  Ex. No.                    Exhibit              Offered       Admitted


 26-8a      Transcript of Exhibit 26-8


 26-10      Langan/Elsheikh video clip


 26-10a     Transcript of Exhibit 26-10


 26-11      Langan/Elsheikh video clip


 26-11a     Transcript of Exhibit 26-11


 26-12      Langan/Elsheikh video clip


 26-12a     Transcript of Exhibit 26-12


 26-13      Langan/Elsheikh video clip


 26-13a     Transcript of Exhibit 26-13


 26-14      Langan/Elsheikh video clip


 26-14a     Transcript of Exhibit 26-14


 26-15      Langan/Elsheikh video clip


 26-15a     Transcript of Exhibit 26-15


 26-16      Langan/Elsheikh video clip


 26-16a     Transcript of Exhibit 26-16


 26-17      Langan/Kotey Video Clip




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  Ex. No.                     Exhibit             Offered       Admitted


 26-17a     Transcript of Exhibit 26-17


 26-18      Langan/Elsheikh video clip


 26-18a     Transcript of Exhibit 26-18


 26-19      Langan/Elsheikh video clip


 26-19a     Transcript of Exhibit 26-19


                  EL SHAFEE ELSHEIKH MEDIA INTERVIEWS


 27-1       Sky News Clip 1


 27-1a      Transcript of Exhibit 27-1


 27-2       Sky News Clip 2


 27-2a      Transcript of Exhibit 27-2


 27-3       Elsheikh/Kotey CNN video clip


 27-3a      Transcript of Exhibit 27-3


 27-4       Moussa/Elsheikh interview clip


 27-4a      Transcript of Exhibit 27-4


 27-5       Yeung/Elsheikh and Kotey video clip


 27-5a      Transcript of Exhibit 27-5




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  Ex. No.                    Exhibit                  Offered   Admitted


 27-6       BBC News, Clip 1


 27-6a      Transcript of Exhibit 27-6


 27-7       BBC News, Clip 2


 27-7a      Transcript of Exhibit 27-7


 27-8       Washington Post Clip 1


 27-8a      Transcript of Exhibit 27-8


 27-9       Washington Post Clip 2


 27-9a      Transcript of Exhibit 27-9


 27-10      Washington Post Clip 3


 27-10a     Transcript of Exhibit 27-10


 27-11      Washington Post Clip 4


 27-11a     Transcript of Exhibit 27-11


                                       WITNESS F.S.


 29-1       Proof of Life video for F.S.


                                    WITNESS M.al-M.

            Photograph of Peter Kassig delivering
 30-1
            humanitarian aid



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  Ex. No.                   Exhibit                          Offered            Admitted


                                      WITNESS U.S.


 31-1       Photo 1 of Abu Thabit


 31-2       Photo 2 of Abu Thabit


 31-3       Photo of Abu Thabit’s friend




                                           Respectfully submitted,

                                           Jessica D. Aber
                                           United States Attorney

                                    By:       /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2022, I electronically filed the foregoing with the Clerk
of Court using CM/ECF system, which will send a notification of such filing (NEF) to all
counsel of record.

                                      By:    ________/s/_______________
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